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                   UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


    UNITED STATES OF AMERICA                 Criminal Number: 99-310 (BRM)

                        v.                   ELECTRONICALLY FILED

    GARY GRIESER,                            Hon. Brian R. Martinotti,
                                             United States District Judge
                             Defendant.


                                  TURNOVER ORDER

       WHEREAS this Court entered a Judgement in a Criminal Case on March

28, 2001, which, among other things, required Defendant Gary Grieser

(Defendant) to pay mandatory Restitution in the amount of $1,544,377.70 (plus

interest) to the victim and a Special Assessment of $1,750.00;

       AND WHEREAS a Restitution balance of approximately $2,124,219.90

remained unpaid as of September 16, 2021;

       AND WHEREAS pursuant to 18 U.S.C. § 3613(c), entry of final judgment

created a lien on all of Defendant’s property and rights to property;

       AND WHEREAS the United States may use any authorized federal or

state procedure to enforce the judgment. 18 U.S.C. § 3613(a), (f);

      AND WHEREAS on or about October 12, 2001, the Federal Bureau of

Investigation (FBI), executed a Federal Warrant, that had been issued under

District of New Jersey (DNJ) criminal number: 01-648, at the Long Branch Housing

Authority (LBHA) for the account or accounts of the Defendant’s company, Capital

Assets. Pursuant to that Warrant, the LBHA issued a check that was payable

to the United States Marshal Service (USMS), in the amount $7,845.00. The LBHA
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provided that USMS check to the FBI.

      AND WHEREAS on or about October 25, 2001, the FBI turned over the LBHA

$7,845.00 check to the USMS-DNJ;

       AND WHEREAS the USMS-DNJ has maintained custody of that $7,845.00

(Asset ID No: 02-FBI-000024) since on or about October 25, 2001.

                                  NOVEMBER 2021,
                     12TH day of ______________
       IT IS on this ______

      ORDERED that the USMS-DNJ remit to the Clerk for the District of New

Jersey, 402 East State Street, Room 2020, Trenton, New Jersey 08608 the sum of

$7,845.00 (minus any fees), for distribution to the victims owed Restitution.

Defendant shall be credited with payment towards the Restitution Order.




                                       ____________________________________
                                       Hon. Brian R. Martinotti
                                       United States District Judge
